✎ PS 8    Case 2:17-cr-00128-RMP             ECF No. 257        filed 11/21/17      PageID.636 Page 1 of 2
(3/15)


                               UNITED STATES DISTRICT COURT
                                                              for
                                            Eastern District of Washington


U.S.A. vs.                    Gendreau, Rhonda J.                         Docket No.            2:17CR00128-RMP-7

                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Rhonda J Gendreau, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 2nd day of August 2017, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

Special Condition #27: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment program,
random urinalysis testing shall be conducted through Pretrial Services, and shall not exceed six (6) times per month.
Defendant shall submit to any method of testing required by the Pretrial Services Office for determining whether the
Defendant is using a prohibited substance. Such methods may be used with random frequency and include urine testing,
the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing.
Defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy
of prohibited substance testing.

Modified Condition: The defendant shall participate in a substance abuse evaluation and attend any recommended
treatment.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: The defendant admitted to ingesting methamphetamine on October 24, 2017.

Violation #2: The defendant admitted to ingesting methamphetamine on October 30, 2017.


Violation #3: The defendant admitted to ingesting methamphetamine on November 17, 2017.

Violation #4: The defendant failed to report for random urinalysis testing on two occasions.

Violation #5: The defendant voluntarily left an inpatient substance abuse treatment program on November 20, 2017.
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  Re: Gendreau, Rhonda J.
  November 21, 2017
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                   PRAYING THAT THE COURT WILL ORDER ISSUE A WARRANT
                                                                  I declare under the penalty of perjury
                                                                  that the foregoing is true and correct.
                                                                  Executed on:       11/21/2017
                                                        by        s/Erik Carlson
                                                                  Erik Carlson
                                                                  U.S. Pretrial Services Officer


THE COURT ORDERS
[ ]  No Action
[X ] The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  Defendant to appear before the Judge assigned to the case.
X
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other


                                                                    Signature of Judicial Officer

                                                                           11/21/2017
                                                                    Date
